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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                CASE NO.: 1:20-cv-22396-KMM

  ELVIS JOSE PEREZ, an individual,

         Plaintiff,

  v.

  CITY OF HIALEAH, a municipality;
  YANDIER HERNANDEZ, ALEXANDER
  ABREU CASTRO, JOSE ROMERO,
  and LUIS ALBERTO SALCEDO,
  in their individual and official capacities
  and as City of Hialeah Police Officers,

        Defendants.
  _____________________________________/
                              JOINT NOTICE OF SETTLEMENT
         Plaintiff, ELVIS JOSE PEREZ (hereinafter referred to as “ELVIS”), and Defendant, CITY
  OF HIALEAH (hereinafter referred to as “HIALEAH”), by and through their respective
  undersigned counsel and pursuant to Southern District Local Rule 16.4, hereby notify the Court
  that the Parties have reached a settlement to fully resolve this matter as to all Defendants. The
  Parties are in the process of preparing a written Settlement Agreement and will file a Stipulation
  of Dismissal once the Settlement Agreement has been fully executed.
                                  CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via E-Filing
  and served to all counsel of record via an automatic email generated by the CM/ECF this 11th day
  of August 2020.




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                                           Respectfully submitted,

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                                           By: /s/ Brian L. Elstein
                                                   Brian L. Elstein
                                                   Fla. Bar No. 105885

                                           -and-

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                                           By: /s/ Joshua R. Alhalel
                                                   Joshua R. Alhalel
                                                   Fla. Bar No. 16320




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